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                                                     March 9, 2021



VIA E-FILING
Honorable Ronnie Abrams, U.S.D.J.
United States District Court
 for the Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:     Linnea Michaels, et al. v. Fellowships at Auschwitz for the Study
               of Professional Ethics, et al.; Civil Action No. 1:20-cv-05414-RA

Dear Judge Abrams:

         As the Court is aware, this firm represents all three (3) Plaintiffs – Linnea Michaels,
Mary-Kathryn Zoni and Rev. Susan J. McCone – in the above-referenced matter. I am in receipt
of a letter motion filed earlier today by counsel for all eight (8) Defendants that seeks leave from
the Court to file excess pages in the responsive pleading that Defendants are apparently preparing
to file next week based upon the number of parties and number of claims. While counsel for
Defendants could have reached out prior to filing the motion to obtain my consent, I have no
objection to Defendants’ motion, respectfully requesting that Plaintiffs are afforded the same
courtesy to file excess pages in their response to Defendants’ anticipated submission.

       Thank you for the Court’s continuing guidance in this matter.

                                                     Respectfully submitted,

                                                     s / James P. Gianakis

                                                     James P. Gianakis
cc:    David E. Strand, Esq. (via e-filing)
